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                        EXHIBIT 5




                                                                           UBS067
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UNITED STATES BANKRUPTCY COURT
NORTHER DISRICT OF TEXAS
--------------------------------------------------------------------x Case No.: 19-34054-sgj11
In re HIGHLAND CAPITAL MANAGEMENT, L.P.,                              Chapter 11
                                                                      Adv. Proc. No. 21-03020-sgj
                                    Debtor
UBS SECURITIES LLC AND UBS AG LONDON
BRANCH,
                                    Plaintiff,
        - against -                                                                          AFFIDAVIT OF
                                                                                          ATTEMPTED SERVICE
HIGHLAND CAPITAL MANAGEMENT, L.P.                                                          ON JAMES DONDERO
                                    Defendant.
--------------------------------------------------------------------x
STATE OF TEXAS                                )
                                        s.s.: )
COUNTY OF DALLAS                              )


        I, MICHAEL HERNANDEZ, being duly sworn, depose and say:

        1.       I am not a party in this action and am over the age of eighteen years. I reside in

the state of Texas.

        2.       Under the direction of Serving by Irving, Inc., I was assigned to effectuate service

of a Subpoena to Testify at a Deposition in a Bankruptcy Case (or Adversary Proceeding) with

$40.00 witness fee, and a Subpoena to Produce Documents, Information, or Objects or to Permit

Inspection of Premises in Bankruptcy Case (or Adversary Proceeding) with Attachment A upon

James Dondero for the law firm of Latham & Watkins LLP in the above captioned matter.

        3.       On Friday, April 2, 2021 at 7:42 PM, I attempted service at the given address

3807 Miramar Avenue, Dallas, TX 75205. There was no answer at the call box. I could not gain

access to the front door due to it being gated. I left my contact information attached to the gate.

        4.       On Saturday, April 3, 2021 at 12:13 PM, I attempted service at the given address

3807 Miramar Avenue, Dallas, TX 75205. There was no answer at the call box. I could not gain


                             Serving By Irving, Inc. | 233 Broadway, Suite 2201 | New York, NY 10279
                                    New York City Dept. of Consumer Affairs License No. 0761160
                                                               1

                                                                                                          UBS068
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